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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:12-CR-3059

vs.
                                            FINAL ORDER OF FORFEITURE
TEO VAN PHAN and KIM NGUYEN,

                  Defendants.

       This matter is before the Court on the plaintiff's Motion for Final Order
of Forfeiture (filing 223).
       On November 21, 2012, the Court entered a Preliminary Order of
Forfeiture (filing 210) pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
2461(c), based upon the defendants= guilty pleas to committing mail fraud
and admission of the forfeiture allegation contained in the indictment (filing
1). By way of the preliminary order of forfeiture, and the Court's imposition of
forfeiture at sentencing, the defendants' interests in the following property
were forfeited to the plaintiff:

         All "contraband cigarettes" addressed and delivered to 2742
         Holdrege, Apt. 2, Lincoln, Nebraska, between September 20,
         2011, and May 22, 2012;

         341 packs of "contraband cigarettes" located and seized from
         2742 Holdrege, Apt. 2, Lincoln, Nebraska, on April 24, 2012;

         All "contraband cigarettes" addressed and delivered to 3940 N.
         20th St., Lincoln, Nebraska, between September 20, 2011, and
         May 22, 2012;

         441 packs of "contraband cigarettes" located and seized from
         3940 N. 20th St., Lincoln, Nebraska, on April 24, 2012;

         $4,400.00 in U.S. currency located and seized from 3940 N.
         20th St., Lincoln, Nebraska, on April 24, 2012;
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          All "contraband cigarettes" addressed and delivered to 4140 N.
          20th St., Lincoln, Nebraska, between September 20, 2011, and
          May 22, 2012;

          1 pack of "contraband cigarettes" located and seized from 4140
          N. 20th St., Lincoln, Nebraska, on April 24, 2012;

          All "contraband cigarettes" addressed and delivered to 663 S.
          19th St., Apt. B2, Lincoln, Nebraska, between September 20,
          2011, and May 22, 2012;

          7 cartons of "contraband cigarettes" located and seized from
          663 S. 19th St., Apt. B2, Lincoln, Nebraska, on April 24, 2012;

          All "contraband cigarettes" addressed and delivered to 1715
          4th Corso, Apt. 2, Nebraska City, Nebraska, between
          September 20, 2011, and May 22, 2012;

          8 packs of "contraband cigarettes" located and seized from
          1715 4th Corso, Apt. 2, Nebraska City, Nebraska, on April 24,
          2012; and

          $1,649.00 in U.S. currency located and seized from 1715 4th
          Corso, Apt. 2, Nebraska City, Nebraska, on April 24, 2012.

       As directed by the order, a Notice of Criminal Forfeiture was posted
beginning on November 27, 2012, on an official Internet government
forfeiture site, www.forfeiture.gov, for at least 30 consecutive days, as
required by Supp. Admiralty and Maritime Claims R. G(4)(a)(iii)(B). A
Declaration of Publication (filing 222) was filed on January 30, 2013. The
Court has been advised by the plaintiff that no petitions have been filed, and
from a review of the Court file, the Court finds no petitions have been filed.

     IT IS ORDERED:

     1.      The plaintiff=s Motion for Final Order of Forfeiture (filing
             223) is granted.

     2.      All right, title, and interest in and to the property described
             above held by any person or entity are forever barred and
             foreclosed.



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     3.    The property is forfeited to the plaintiff.

     4.    The plaintiff is directed to dispose of the property in
           accordance with law.

     Dated this 4th day of February, 2013.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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